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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )            8:07CR30
                     Plaintiff,                    )
                                                   )
       vs.                                         )             ORDER
                                                   )
THIRUGNANAM RAMANATHAN,                            )
                                                   )
                     Defendant.                    )


       This matter is before the court on the government’s motion for a continuance of the
trial date and objection to the date set for the foreign deposition (Filing No. 102). the court
held a telephone conference with counsel on January 17, 2008. Richard Green and
Michael P. Norris represented the United States. David R. Stickman represented the
defendant Ramanathan. Alan Stoler represented defendant Marimuthu.
       The defendant Ramanathan noticed a deposition to be taken of defendant
Marimuthu in Hong Kong on January 23, 2008 (Filing No. 100). The taking of a deposition
had been authorized by the court in a previous order (Filing No. 94). The court appointed
Alan Stoler as counsel for Marimuthu for these proceedings upon receiving a request from
Marimuthu now serving a sentence of imprisonment in Hong Kong.
       Mr. Stoler has had inadequate time to consult with Marimuthu regarding the taking
of the deposition. Rather than incurring travel and expenses to a deposition for which
Marimuthu would assert his Fifth Amendment privileges to questions asked, the court will
continue the deposition of Marimuthu for a period of two weeks. During such time, Mr.
Stoler shall consult with Marimuthu and counsel for all parties shall agree upon a new
deposition date of Marimuthu in Hong Kong.
       The motion to continue the trial in this matter is granted sine die and shall be
rescheduled following the results of the deposition or attempted deposition of Marimuthu.
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       IT IS ORDERED:
       1.     The government’s motion for a continuance of trial (Filing No. 102) is granted.
Trial will be rescheduled following a Rule 17.1 conference with counsel after the deposition
of Marimuthu.
       2.     The government’s objection to the deposition of Marimuthu on January 23,
2008, in Hong Kong (Filing NO. 102) is sustained. The parties shall agree on a new
deposition date within two weeks of January 17, 2008.
       3.     Following the taking of the deposition of Marimuthu or the determination that
a deposition of Marimuthu would be impracticable, the court will hold a Rule 17.1 telephone
conference with counsel to schedule this case for trial.
       4.     On or before February 11, 2008, counsel for the government shall contact
the courtroom deputy of the undersigned magistrate judge (Mary Beth Baker at 402-661-
7344) in order to schedule the Rule 17.1 conference.
       DATED this 18th day of January, 2008.
                                                 BY THE COURT:
                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge




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